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PARTNERA . . j ASSOGIATIG OF COUNSEL WASHINGTON OFFICE
SAMUEL 1, WEINER DOUGLASA MIG | SaTgkS- ALGAE ANTHONY MARIN SFatrae 1908 0 STROT, NW.
ROBERT C. ZADER ALIRSO. RARNICART «= MARY G. FONTENGT CHRISTOPEEAPARADIOE, FH. | LEON ZayVERe WAEHINOTON, DC. 20006
MAX MOIEOWITS MAG J00L2 PELeeRe BRYAND, BGMATTEG TAWEERCEA.HORIMAN =| TEL S02457 7705
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WILLIAM ©. GRAY, Lit ;» *SOUROWR ACEO wae BRATS t+ pouAn
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MARE A, FARLEY
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DATE: — July 20, 2004

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TO: i
| NAME/COMPANY FACSIMILE NO,
Bd Hennessey (603) 444-6119 _ | EXsuccessrunry raxep
Litlston Coin Company, Inp.
Eo succesarunry raxen
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FROM: Mare Lieberstein, Esq.

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IF YOU DID NOT RECEIVE ALL THE PAGES, PLEASE PHONE (232) 382-0700 AS SOON AS POSSIBLE.

Thie message Js intended only for the use of the individual(s) to which it 1g addyeased, and may contain information thst is privileged,
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LICENSE AGREEMENT

AGREEMENT, having an effective date of uly, 2004 (the “Effective Date”), by and
between National Colleqtor’s Mint, Inc, and (“NOM”) a carporation organized and existing under
the laws of the State of Delaware, having ita principal place of business at: 8 Slater Street, Port
Cheater, New York, 10573, and Littleton Com Compeny, Inc, (“Littletou”} a corporation organized
and sxisting under the laws of the Stete of with a principal place of business

ats. __ (oollectively NCM and Littleton are the “Parties”,

WHEREAS, NCM is the owner of the exclusive sights to use the narue, likeness and image
of President Ronald Reagan in connection with selected coin and collectible products in the United
States as set forth in Exhibit A hereto.

WHEREAS, Littleton is in the business of making or having made, and selling and affering
to sel] soins and reluted'collestible products.

WHEREAS, Littleton offers for sale and sells coins, tundals and/or epllectible products
bearing the likeness and image of President Ronald Reapan ag shown in Exhibit B hereto,

WHEREAS, Littleton desires a license from NCM te sell and offer to sell the products in
Exhibit B bearing the Hiseness and imege of President Ronald Reagan (hereinafter the “Licensed
Products").

NOW, THEREFORE, and in consideration of the mutual understanding and obligations set
forth herein, the Parties hereto agtes.as follows:

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ARTICLE TE: DEFINITIONS

For the purpose of this Agreement, the following tems shat] have the following meaning:

1100 “WOM” shall mean and include Nationel Collector's Mint, Inc. and any
sticcessore-ineinterest, executives, officers, directors, employees, maneging agents, agents,
representatives, and any other persous or entities purperting to act on behalf of, or in concert with,
NCM,

1.2 “Littleton shall mean and includs Littleton Coin Conspany, Inc. and any respective
Successore-in-interest, executives, officers, directors, employees, managing agents, agents,
representatives, and any other pexsons or entities purporting to act on behalf of or in, concert with
Littieton.

13 The term “Reagan Image” shall mean any use of the name, lilenese and/or image of
tho Iste President Ronald Reagsn, and ail rights associated with the same.

14 The term “Exclusive Rights” shall mean NCM's exclusive rights to use the Reagan
Image in selected collectible coina and produrts identified in Exhibit A herato.

1.5 — Theterm “Liceused Products” shall masa only the product chown in Exhibit B hereto.

ARTICLE A; LICENSE AND COVENANT

2.1 Subjecrta the payment terma act forth in Paragraphs 2.4 and 2.5 herein, NCM hereby
grants fo Littleton a non-exclusive license to make and sell the Licensed Products shown in Exh. B,
- without the tight to grant sublicenses.

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2.2 Littleton hereby covenants to NCM, except as provided for in this Agreement, that
Littleton will not make, hse, nell, advertise or solicit sales for any coins, medals or other products
covers py the NCM’s Exclusive Rights, cither at the retail or wholesale level.

2.3 No implied or other license is granted other then as set forth in Paragraph 2.1 of this
Agreement, It is expressly understood that the Heense granted herein is specifically limited to the
Licensed Products shown in Exh, B and that the license granted to Littleton will not and does not
extend to any other usaz of the NCM Exclusive Rights, untess expressly authorized by NCM to

24 For all Ljoensed Products sold at wholesale by Littleton, Littleton will pay NCM
Bightesn Percent (18%) of the Net Sales. For all Licensed Products sold at retail by Litédleton,
Littleton will pay NCM Nine Pereent (9%) of the Net Sales. For purposes of this Agreement, “Net
Sales” shall mean the total price of the Licensed Products actually shipped less: (i) returas fram or
allowauces to customers, (ii) sales tax, value added tax and other taxes and duties included in the
purchase price or paid ont of receipts from the sales; (iii) shipping and handling charges and (iv) 2
‘three percent (3%) allowance for bad debts, All payments te-NCM for Littleton's aale of the:
Licensed Products shall pe madeto NCM within ten (10) days of theend of each month commencing
after the effective dare of this Agreement.

. 25 All paynients provided for under this Agreement chal. aoorus whenever fhe Licensed
Products are orwere shipped, and ghall include paynienta for Licensed Products shipped both before

- and after the effective date of this Agreement. Unless otherwise authorized in writing by NCM,
payments shali made by Littleton to NCM on any Licensed Products at the thea current royalty price

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for said Licensed Products even ifnot billed to a customer by Littleton, including, but not lintited

to introductory offers, promotions or distributions, made by or on behalf of Littleton.

ARTICLE Hit RECORD KEEPING, AUDITS AND QUALITY CONTROL

3.1 Simultaneous with the submission of any payments for the Licensed Products, and
not later than the ten (10) days after the end of each month, and regardless of whether any payment
is due, Littleton shall submit a monthly report of seles, setting forth the mumber, description and
invoice price of any Licensed Products sold, the gross sales price, returns actually received, and
discounts and allowanens actually granted, and the Net Sales. Any payment which is net paid on or
before the duo date thereof shall therenfter bear interest at the Prime Rate, phis two (2%) percent,
whioh shall he payable on demand.

32 The receipt or acceptance by NCM of any reports firnished pursuant to this
Agreement, or the receipt or acceptance of any payments, hall not preclude NCM from questioning
the correctness thereof at any time thereafter for a period of three (3) years after termination of thie

3.3 Littleton shall maintain appropriate books ofacoount and records, of all its operations
under or in connection with thia Agreement all in socordance with generally accepted aroounting
priuciples (including, without limitation, a sales journal, sales retum joumal, cath receipt book,

"general ledger, purchase orders, cutting tiokers, and inventory records) and shall make best efforts
to make accurate entries concerning all transactions relevant to thie Agreement.

3.4 During the term of this Agreement and for three (3) years thereafter, NCM shall have

the right, at its own expense, on ransonsble notice to Littleton (but in no event need such notice be

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more than thirty (30) business daya) and during regular business hours, to examine, photocopy, and
make extracts fiom such'books of account and other records, doonments and materisls (including,
but not limited to, invoikea, plrchase orders, sales records, and reorders) to the extent needed to
‘confirm sales, payments sod other matters relating to compliance with this Agreement, which shalt
be maintained and kept ty Littleton during the period specified herein.

3.5 AH sush books of account and records shall be kept available by Littleton nt the
address referred to herein for three (3) years after the termination, expiration, ormmtual release from
this Agreement.

3,6  ifeny examination or audit byNCM for any period discloses that the actual Net Sales
for that period exceeded these reported by more than three percent (3%), Littleton shall pay the
reasonable cost of such examination or audit in addition to the amount such examinution or audit
discloses is owed to NCM together with interest on the unreported amount st arate equivalent to the
Prime Rate plus two (2%) percent. All payments due pursuant to this paragraph must be made
Within thirty (30) days after Litiicton receives notice theran—. NCM shail not have the right to
examine or audit Littleton's books atid records more than once in any 12-month period during the
term hercof, except that if any such examination or audit discloses that actual Net Sales for the
period reported exceedad the Net Sales reported by more than ten (10%) percent, NCM will
thereafter have the right to exatiine or audit Littletan's books and sscords in eccorlance herewith
on & quarterly basig.

3.7 Littleton) shall not, at any tims or in any mater, knowingly or intentionally, engage
in any activity Or perfocm of pemuit any act which may in any way adversely affect any rights of

NCM to the Exclusive Rights or any registrations or applications for registration thereof or which

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may directly or indireotly reduce the value of the Reagan Image or derogate or detract from the
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repute thereof, To the exclet that Littleton should hava known that the consequences of the aforesaid

action taken by or on bebalf of Littleton, or caused by Littleton, was likely to materially adversely -
' affect the interests oF NCM, auch action shall be deemed to be a breach of this Agreement, whether

or not Littleton engaged in such astion knowingly and/or intentionally.

ARTICLE IV: CONSIDERATION AND VALIDITY

4) Littleton ecknowledgcs that the Exelnsive Rights granted to NCM in Exh. A hereto
are Valid and enforceable.

42 Littleton borees that it will not directly or indirectly challenge the validity and/or the
enforoeability of the Reagan Image and the Exclusive Rights, nor will it voluntarily assist any other
party in challenging the validity and/or the enforceability of the Reagan Image or the Exclusive
Rights in any legal, cout, administrative, or other proceading.

4.3 Littleton reengnizes the great value ofthe goodwill wssocinted with the Reagan Image

and the Exclusive Rights and acknowledges tbat such goodwill belongs exclusively to NCM, and

thai Littleton shall acquire no proprietary rights in the Exclusive Rights or their goodwill by virtue
of this Agreement. Littleton further recognizes that the Reagan Image und the Exciusiva Rights have
acquired secondary meaning in the mind of the public. Accordingly, Litileion agrees that the breach
of its obligations under this Agreement (other than breaches Telating to the payment of monetary
sums) will cause NCM iroparable damages whick may not be compensable by monetary damages,
and that in the event of puck breach, in addition to any other rights or remedies which NCM may

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have, NCM may seck and obtain injunctive relief, without the necessity of posting bond (unless
otherwias roquired by law.)
4.4 Littieton dial display on or in connection with the Licensed Products the following
"notation: “These products are approved and sold under license fram National Collector's Mint Inc,
as authorized by the Roriald Reagan Presidential Library Forndatian”.
4.5 Littleton shall promptly notify its custemers that NCM has pravted Littleton a license
" for the Licensed Products in the form attached in Exh. C.
4.6 Littleton shall promptly notify NCM if any legal action is instinuted against Littleton
. relating to its use of the Licensed Products. Littleton shall aleo promptly notify NCM of any
counterfeiting or other jnflingement of the Exclusive Rights, or any diversion of the Licensed
Products from the Hoensed channels of distritution, of which Litfleton becomes aware. NCM shalt
have the sole discretion, to institute legal action or take any other actions which are reasonably

deemod necesdary to protect the Exclusive Rights, and Littleton shall fully cooperate with NCM in

any such action, |

ARTICLE V: WARRANTIES AND REPRESENTATIONS
Bach Party to thib Agreement represents ané warrants ta the other that (a) ithas carefully read
thie Agreement and tmeerstands it and its legal meaning: (b) it is exeouting this Agreement under
itsown freowilland without being cosroed, unduly influenced, or induced ta de ao by anything done
_of not dons by the Parties, other than what is contained in this Agreement; (c) it recognizes this
Agreement to be a full, final, and complete Agreement, except as otherwiga pravided herein: (d) it
has not assigned, transferred, conveyed or otherwise disposed of any of the rights or obligations

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transferred herein; (2) it has the tight(s) to enter into this Agreement; aud (£) it has full authority to

_ execute this Agraament without the necessity of obtaining the consent of another party.

. ARTICLE VI: NOTICE

inany case where any natice or other communication is required or permitted hereunder, such
notice or communication shell be in writing and (3) personally delivered, or (ii) sent by established
courier servioe to the address of a Party set forth below. All such notices shail be deerned given and
received (a) upon rensipt if personally delivered, or (b) when delivery is confirmed if sent by courier
service.
To: Avrant Freedberg

National Colisotors Mint, Inc.

§ Slater Street

Fort Chester, New York 10573

With a copy to:

Mare Liebarstein, Esq.

OSTROLENK, FABER, GERB & SOFFEN
1186 Avenue of the Americas

New York, New, York 10036

To:

Littleton Coin Company, Inc,
One Latileton Coin Place
Littleton, NH. (03561-3735

With a copy to:
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ARTICLE VU; TERM AND TERMINATION
This Agreement terminates upon NCM’s ebandonment, or the expiration or termination of

its interest in the Exclusive Rights granted to NCM under Exh. A hereto.

ARTICLE VII APPLICABLE LAWS

This Agre¢ment shall be deemed to be an agreement made under, and to be construed and
governed by, the laws of the State of California, extlusive of its choice of law rules. The Pasties
expressly agree that any and all disputes arising out of orconceming this Agreement or the Licensed
Products shall be Htigated and adjudicated exclusively in the State and/or Federal Courts of the State

of New York and cach Harty consents to and submits to jurisdiction in said Courts.

ARTICLE IX: SEVERABILITY

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Whenever possibis, each provision of this Agreement shall be interpreted in such manner as -

to be effective and validamder applicuble law. ifthe application of any provision of this Agreement
fo any particular facts or circumstances shall be held to be invalid or unenforceable by a court of
competent jurisdiction, then i) the validity and enforceahility of suck provision as applicd to any
other particular facts orlcfrcunstances and the validity of other provisions of this Agresment shall
not in any way be affected or inpaired thereby, and (i) such provision shall be enforced to the
maximum extent possible so aa to effect the intent of the Parties and uball be reformed without
further action by the Parties to the extent necessary to make such provision valid and enforceable
while preserving the original intent of the Parties.

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ARTICLE X: HEADINGS
Thia section or other headings herein are inserted only for convenience and case of reference
and are not to be considered in the construction or interpretation of any provision of this Agreement.

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Uniess otherwise stated, yeferences to Sections herein are references to Sections hereof

ARTICLE SI: WAIVER
The waiver by either Party ofa breach of or a default under any provision of this Agreement
shall he in writing and shall not be construed at a waiver of any substquent breach of or default

ander the same or any other provision of this Agreement, nor shall any delay or ormission on the part

of either Party to exervige or avail itself oF any right or remedy that it has or may have hereunder or-

by law or at equity operate as a waiver of any right or remedy,

ARTICLE XII: COUNTERPARTS
This Agreement may be executed in any number of counterparts, cach of which shall be
deemed an original and all of which shali constitute one end the same Agreement.
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ARTICLE 3101 ENTIRE AGREEMENT
This Agreement’ together with the Exhibits hereto constitutes the entire agreement betwoen

the Parties pertaining tb the subject matter hereof and supersedes ali previous communications,

agreements, and understandings between the Parties relating to the subject matter hereof. Neither .

Party has entered into this Agreement in reliance upon any representation, warranty, or undertaking

ofthe other Party that ishoot set out or referred to in this Agreement, No amendment or modification

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of any provision of tna Agreement shall be effective uniess in writing and signed by a duly
authorized representativg of each Party.

ARTICLE XIV: APPROVALS AND CONSENTS

Except as expressly provided otherwise in this Agreement, where agreement, approvel,
acceplance, or consent by either Partyia tequired by any provision ofthis Agreement, that action will
not be unreasonably delayed or withheld,

ARTICLE XV; FURTHER ASSURANCES

Each Party will, atthe other's request, enter into additional agreements or assigmments, or will
obtain other documentation as is teasonably necessary to give effect to this Agreement.

ARTICLE XVI: REPRESENTATION OF COUNSEL; MUTUAL NEGOTIATION |

Each Party acknwledges ithas had the opportunity to be represented by counsel of its choice
in negotiating this Agreement, This Agreement will therefore be deemed to have been negotiated.
and prepared at The joint request, direction, and construction of the Parties at arms length, with the

advice and pastcipation of counsel, and will be interpreted in accordance with its tetras without
favor to any Party,

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ARTICLE XV; NO AGENCY
Nothing contained herein shalt be deemed to constitute any party as the agent of
any other party for any purpose,
|
IN WITNESS HEREOF, the Parties hve caused this Agreement to be executed by
their duly authorized representatives ag of the day and year first written above.

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> National Collector’s Mint, Inc.

Date; » 2004 By:
Avram Freedberg, President

Littleton Coin Company, Ino,

Date: , 2004

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EXUIBIT A

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2003 beewpen NA! COLLECTOR'S AMi?, ING, % Sater Strent, Part Cheats,
NY 10573 (NCMM and THE RONALD REAGAN PRESIDENTIAL FOUNDATION,
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nafinised woe. and to promote the timelary pefactpies be chanpimieds

individual libety, economis sppurtanity, plubal democtany and notiogs’ pride,
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NOW, THEREFORE, 3 RB, intending to bs lepaily hound hereby and in consideration of the
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tnatket tie Programs theouphintt the wodld. Sponsor futher anthorizes
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digtcibutoy of te Progams,

| 42 Spatwor shalt:

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andlor ever er eiptived Setter te Bvanga of President Rousld W. Reapen iatfor
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Flag of Haar Ssaiming ths Wkeness of President Ronald W, Reagan and/or key
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EXHIBIT B

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Product Details <
herr iD: Si2zis . i
Herm: Gold and Siiver Plated Ronatd Reagan
Meclala Set with cass. Due to
overwhelming , We expect
this set to bd avaliable to ship by mid f
August, i :
lem Prloa: = $20.95
Quantity: Fi |
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Desorption: We're pleased 16 ulfer this longtime coflagtor favorite featuring a pair of Presidential medals - one
layered in 24k gntd anc the ofher in 99% sliver - ap a Tameémbrance of Ronald Reagan, cur 40th
Prazidant. A portrait of Aonald Reagan ts on the obverse and Yosemite's Half Dome fs on the
reversa. Each mjaced is sedied in an Als-Tite capaiia, and both ara displayed In 2 blue case. Due.

to overwhelming response, we expect this set to be available to ship by mid August,

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EXHIBIT C

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Dear [Littleton Customer];

This Istter serves to confirm that Littleton Coin Company, Inc. is now a
licensed by National Collector’s Mint, Inc. to gel! the Ronald Reagan Medals Set.
‘National Collector’si Mint, Inc. is the exclusive licensee of the Ronald Reagan

Sincerely,

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